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      Attorney(s) for Plaintiff Social Positioning Input Systems, LLC
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  7
                      IN THE UNITED STATES DISTRICT COURT
  8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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 10
       SOCIAL POSITIONING INPUT                      CASE NO.: 2:21-cv-02320
       SYSTEMS, LLC,
 11
                          Plaintiff,                 COMPLAINT FOR PATENT
 12                                                  INFRINGEMENT
       v.
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 14    XIRGO TECHNOLOGIES HOLDINGS,                  JURY TRIAL DEMANDED
       INC.,
 15
                          Defendant.
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 18         Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” or “SPIS”) files
 19
      this Complaint against Xirgo Technologies Holding, Inc. (“Defendant” or “Xirgo”)
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 21   for infringement of United States Patent No. 9,261,365 (hereinafter “the ‘365 Patent”)
 22
      and hereby alleges as follows:
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                               PARTIES AND JURISDICTION
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 25         1.     This is an action for patent infringement under Title 35 of the United
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      States Code. Plaintiff is seeking injunctive relief as well as damages.
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             2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331

  2   (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
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      infringement arising under the United States patent statutes.
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  5          3.     Plaintiff is a Texas limited liability company with a virtual office located

  6   at 1 East Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
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             4.     On information and belief, Defendant is a California corporation with its
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  9   principal office located at 188 Camino Ruiz, Camarillo, CA 93012. On information

 10   and belief, Defendant may be served through its registered agent, Ted Schneider, 300
 11
      E. Esplanade Dr., Ste. 1980, Oxnard, CA 93036.
 12

 13          5.     On information and belief, this Court has personal jurisdiction over
 14   Defendant because Defendant has committed, and continues to commit, acts of
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      infringement in this District, has conducted business in this District, and/or has
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 17   engaged in continuous and systematic activities in this District.
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             6.     On information and belief, Defendant’s instrumentalities that are alleged
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      herein to infringe were and continue to be used, imported, offered for sale, and/or sold
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 21   in this District.
 22
                                              VENUE
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             7.     On information and belief, venue is proper in this District under 28
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 25   U.S.C. § 1400(b) because Defendant is deemed to reside in this District.
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      Alternatively, acts of infringement are occurring in this District and Defendant has a
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      regular and established place of business in this District.
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  1
                                 COUNT I
            (INFRINGEMENT OF UNITED STATES PATENT NO. 9,261,365)
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  3         8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.

  4         9.     This cause of action arises under the patent laws of the United States
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      and, in particular, under 35 U.S.C. §§ 271, et seq.
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  7         10.    Plaintiff is the owner by assignment of the ‘365 Patent with sole rights

  8   to enforce the ‘365 Patent and sue infringers.
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            11.    A copy of the ‘365 Patent, titled “Device, System and Method for
 10

 11   Remotely Entering, Storing and Sharing Addresses for a Positional Information
 12   Device,” is attached hereto as Exhibit A.
 13
            12.    The ‘365 Patent is valid, enforceable, and was duly issued in full
 14

 15   compliance with Title 35 of the United States Code.
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            13.    Upon information and belief, Defendant has infringed and continues to
 17
      infringe one or more claims, including at least Claim 1, of the ‘365 Patent by making,
 18

 19   using (at least by having its employees, or someone under Defendant's control, test
 20
      the accused Product), importing, selling, and/or offering for sale associated hardware
 21
      and software for asset locating services (e.g., Xirgo Technologies asset tracking
 22

 23   platform and Car In Phone Lite application) (“Product”) covered by at least Claim 1
 24
      of the ‘365 Patent. Defendant has infringed and continues to infringe the ‘365 patent
 25
      either directly or through acts of contributory infringement or inducement in violation
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 27   of 35 U.S.C. § 271.
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            14.    The Product provides a vehicle tracking system for real-time GPS

  2   tracking of assets. A user can receive location information on a positional information
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      device (e.g., mobile device or computer). Certain aspects of this element are
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  5   illustrated in the screenshot(s) below and/or in those provided in connection with

  6   other allegations herein.
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 27         15.    The Product software sends a request from a first (requesting) positional
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      information device (e.g., mobile device or desktop with software installed) to a server.
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      The request is for the real-time location (e.g., stored address) of a vehicle or vehicles,

  2   and includes a first identifier of the requesting positional information device (e.g.,
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      user ID and password for the Product software used in the particular enterprise). The
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  5   request is sent to the Product server for transmitting the vehicle location. The server

  6   receives the at least one address from a second (sending) positional information
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      device at the vehicle.      Certain aspects of this element are illustrated in the
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  9   screenshot(s) below and/or in those provided in connection with other allegations

 10   herein.
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            16.   The at least one address is received from the server at the requesting
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 14
      positional information device.    For example the Product’s server transmits the

 15   position of an asset (at least one address) to the requesting positional information
 16
      device. Certain aspects of this element are illustrated in the screenshot(s) below
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 18
      and/or in those provided in connection with other allegations herein.

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             17.    A second identifier for the second (sending) positional information
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 15   device is determined based on the first identifier and the server retrieves the at least

 16   one address stored in the at least one sending positional information device. The
 17
      Product application installed on the requesting positional information device requests
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 19   (from the server) the vehicle’s GPS location (i.e., at least one stored address stored).

 20   As shown above, before activating the tracker (i.e., the sending positional information
 21
      device), a unique tracking device’s ID number (i.e., second identifier) needs to be
 22

 23   added to the user’s account identified by the user login ID and password (i.e., the first
 24   identifier). Hence, the tracker device’s ID number (i.e., second identifier) is mapped
 25
      to the user’s login ID (i.e., the first identifier) for tracking the real-time location (i.e.,
 26

 27   at least one stored address stored) of the vehicle. Certain aspects of this element are
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      illustrated in the screenshot(s) below and/or in those provided in connection with
                                                     8
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  1
      other allegations herein.

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             18.    Defendant’s actions complained of herein will continue unless
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  14   Defendant is enjoined by this court.

  15         19.    Defendant’s actions complained of herein are causing irreparable harm
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       and monetary damage to Plaintiff and will continue to do so unless and until
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  18   Defendant is enjoined and restrained by this Court.

  19         20.    Plaintiff is in compliance with 35 U.S.C. § 287.
  20
                                    PRAYER FOR RELIEF
  21

  22         WHEREFORE, Plaintiff asks the Court to:
  23         (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
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       asserted herein;
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  26         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
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       employees, attorneys, and all persons in active concert or participation with Defendant
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       who receive notice of the order from further infringement of United States Patent No.

   2   9,261,365 (or, in the alternative, awarding Plaintiff a running royalty from the time of
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       judgment going forward);
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   5         (c)    Award Plaintiff damages resulting from Defendant’s infringement in

   6   accordance with 35 U.S.C. § 284;
   7
             (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
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   9         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff

  10   entitled under law or equity.
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       Dated: March 16, 2021                  Respectfully submitted,
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  14                                          /s/ Stephen M. Lobbin
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  19
                                              Attorney(s) for Plaintiff Social Positioning
  20                                          Input Systems, LLC
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